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_________
                                                     July 26, 2018

VIA ECF

Hon. Vernon S. Broderick
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

                                            Re:      Miranda, et al. v. Grace Farms, Inc., et al
                                                     Case No. 16-cv-1369 & 16-cv-7704

Your Honor:

        This office represents Plaintiffs Ayde Mena Amaro, Enrique Sanchez Vielma, Irving
Ramos Franco, Paulino Ramales Bravo, and Miguel Rivera (“Plaintiffs”) in the above-referenced
matter. We submit this letter, together with Defendants’ counsel, to respectfully request that the
Court approve the settlement reached between Plaintiffs and Defendants Unak Grocery Corp.
(d/b/a Liberty Café), Liberty Food & Grocery Corp Inc. (d/b/a Liberty Café), Grace Farms, Inc.
(d/b/a City Café), and Vivek Singhal (“Defendants” and together with Plaintiffs, the “Parties”).

        The Parties have agreed to a negotiated Settlement Agreement (the “Agreement”) after
extensive settlement discussions. The proposed Agreement is attached hereto as Exhibit A. We
therefore ask the Court to approve the settlement, pursuant to Cheeks v. Freeport Pancake House,
Inc., 796 F.3d 199 (2d Cir. 2015).

         The Parties represent to the Court that while the Plaintiffs believe that the settlement
amount is less than what they would be entitled to if she prevailed at trial, that the settlement is
fair, as discussed herein.

Background

       Plaintiffs were employed by Defendants to work at two diners, one of which is located at
37 W. 43rd Street, New York, New York 10036 (hereinafter, “Liberty Café”), and the other located
at 35 W. 43rd Street, New York, New York 10036 (hereinafter, “City Café”)

       Plaintiff Ayde Mena Amaro (“Plaintiff Mena”) was employed by Defendants as a cashier
from approximately September 2008 until on or about September 2, 2016. From approximately
September 2010 until on or about June 2013, Plaintiff Mena worked approximately 46 hours per
week. From approximately July 2013 until on or about September 2, 2016, Plaintiff Mena worked
approximately 43.5 hours per week. Throughout her employment, Plaintiff Mena was paid her
wages in cash. From approximately September 2010 until on or about June 2013, Defendants paid


                          Certified as a minority-owned business in the State of New York
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Plaintiff Mena $9.00 per hour. From approximately July 2013 until on or about September 2,
2016, Defendants paid Plaintiff Mena $10.00 per hour.

        Plaintiff Enrique Sanchez Vielma (“Plaintiff Sanchez”) was employed by Defendants as a
delivery worker from approximately January 2010 until on or about July 2017. From
approximately September 2010 until on or about April 2012, Plaintiff Sanchez typically worked
63 hours per week. From approximately April 2012 until on or about July 2017, Plaintiff Sanchez
typically worked 46.5 hours per week. Throughout his employment, Plaintiff Sanchez was paid
his wages in cash. From approximately September 2010 until on or about April 2012, Defendants
paid Plaintiff Sanchez a fixed salary of $375 per week. From approximately April 2012 until on
or about July 2017, Defendants paid Plaintiff Sanchez a fixed salary of $360 per week.

        Plaintiff Irving Ramos Franco (“Plaintiff Ramos”) was employed by Defendants as a
delivery worker from approximately December 2010 until on or about April 2016. From
approximately December 2010 until on or about December 2013, Plaintiff Ramos typically worked
61.25 hours per week. From approximately December 2013 until on or about April 2016, Plaintiff
Ramos typically worked 52.5 hours per week. Throughout his employment, Plaintiff Ramos was
paid his wages in cash. From approximately December 2010 until on or about December 2013,
Plaintiff Ramos was paid a fixed salary of $180 per week. From approximately December 2013
until on or about April 2016, Plaintiff Ramos was paid a fixed salary of $200 per week.

       Plaintiff Miguel Rivera (“Plaintiff Rivera”) was employed by Defendants as a delivery
worker from approximately December 2012 until on or about July 2017. From approximately
December 2012 until on or about May 2014, Plaintiff Rivera typically worked 60 hours per week.
From approximately June 2014 until on or about July 2017, Plaintiff Rivera typically worked 45
hours per week. Throughout his employment, Plaintiff Rivera was paid his wages in cash.
Throughout his employment, Defendants paid Plaintiff Rivera $330 per week.

        Plaintiff Paulino Ramales Bravo (a.k.a. Paul Estrada) (“Plaintiff Ramales”) was employed
by Defendants as a salad preparer, cook and counter attendant from approximately December 2012
until on or about July 2017. From approximately December 2012 until on or about December
2013, Plaintiff Ramales typically worked 57.5 hours per week. From approximately December
2013 until on or about March 2015, Plaintiff Ramales typically worked 47.5 hours per week. From
approximately March 2015 until on or about July 2017, Plaintiff Ramales typically worked 55
hours per week. Throughout his employment, Plaintiff Ramales was paid his wages in cash. From
approximately December 2012 until on or about December 2013, Defendants paid Plaintiff
Ramales a fixed salary of $440 per week. From approximately December 2013 until on or about
March 2015, Defendants paid Plaintiff Ramales a fixed salary of $450 per week. From
approximately March 2015 until on or about July 2017, Defendants paid Plaintiff Ramales a fixed
salary of $460 per week.

       Plaintiffs therefore brought this action seeking to recover unpaid overtime wages, spread
of hours, liquidated damages, interest, attorneys’ fees, and costs, pursuant to the Fair Labor
Standards Act of 1938, 29 U.S.C. §§ 201, et seq. (“FLSA”), the New York Minimum Wage Act,
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N.Y. Lab. Law §§ 650, et seq., and overtime wage orders of the New York Commission of Labor
codified at N.Y. Comp. Codes R. & Regs. tit. 12, § 146-1.6.

        Defendants deny Plaintiff’s allegations and have produced documents that they allege
prove that Plaintiffs were paid in accordance with the law. After weighing the risks of trial and
costs of further litigation, the Parties have reached an agreement at an early stage.

Settlement

        The Parties have agreed to resolve this action for the total sum of $210,000.00 which will
be paid as outlined in Exhibit A. Plaintiffs estimated that, in a best case scenario, they would be
entitled to approximately $199,000.00 in minimum and overtime base damages. However, if
Defendants were to succeed in proving that Plaintiffs were paid in accordance with the law, they
estimate that the Plaintiffs would be entitled much less, if anything at all.

        One-Hundred and Forty Thousand Dollars ($140,000.00) of the settlement amount will be
paid to the Plaintiffs. The remaining Seventy-Thousand Dollars ($70,000.00) will be applied as
attorneys’ fees and costs.

        There is a “strong presumption in favor of finding a settlement fair,” as “the Court is
generally not in as good a position as the parties to determine the reasonableness of an FLSA
settlement.” Lliguichuzhca v. Cinema 60, LLC, 948 F.Supp.2d 362, 365 (S.D.N.Y. 2013) (quoting
Crabtree v. Volkert, Inc., 2013 WL 593500, at *3 (S.D.Ala. Feb. 14, 2013)). “In considering
whether a settlement is fair and reasonable, the principal question is ‘whether the agreement
reflects a reasonable compromise of disputed issues [rather] than a mere waiver of statutory rights
brought about by an employer's overreaching.’” Id. (quoting Le v. SITA Info. Networking
Computing USA, Inc., 2008 WL 724155, at *1 (E.D.N.Y. Mar. 13, 2008)). Courts consider factors
including “(1) the Plaintiff’s range of possible recovery; (2) the extent to which ‘the settlement
will enable the parties to avoid anticipated burdens and expenses in establishing their respective
claims and defenses’; (3) the seriousness of the litigation risks faced by the parties; (4) whether
‘the settlement agreement is the product of arm's-length bargaining between experienced counsel’;
and (5) the possibility of fraud or collusion.” Wolinsky, 900 F.Supp.2d at 225 (quoting Medley v.
Am. Cancer Soc., No. 10-cv-3214 (BSJ), 2010 WL 3000028, at *1 (S.D.N.Y. July 23, 2010)).

       The agreement here is fair to the Plaintiffs. Plaintiffs have been represented by counsel
throughout this lawsuit and have made an informed decision to settle the action, without incurring
the costs or encumbrance of lengthy trial. The Two-Hundred and Ten Thousand dollars
($210,000.00) that they will be receiving accounts for a significant portion of any alleged unpaid
minimum and overtime wages that they could have potentially recovered at trial, as well as
attorneys’ fees. This recovery is also well over what the Plaintiffs would recover if Defendants
were to successfully use their records to establish that Plaintiffs were paid in accordance with the
law. Furthermore, the Agreement is the product of arm's-length bargaining between experienced
counsel and there is no possibility of fraud or collusion.

       The Plaintiffs’ Attorneys’ Fees are Fair and Reasonable
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        Under the settlement, Plaintiffs’ counsel will receive $70,000 from the settlement fund as
attorneys’ fees and costs. This represents one-third of the Settlement amount, a reduction in fees
from what is identified in the Plaintiffs’ retainer agreement, which provides that forty percent of
the Plaintiffs’ recovery will be retained by the firm.

         The amount provided to the Plaintiffs’ counsel under the settlement is fair and reasonable
as it is consistent with the range of fees typically awarded in cases in this Circuit. See Castaneda
v. My Belly’s Playlist LLC, No. 15 Civ. 1324 (JCF) (S.D.N.Y. Aug. 17, 2015) (Francis, M.J.)
(awarding the plaintiffs’ attorneys a contingency fee of one-third to account for risks in litigation);
see also Calle v. Elite Specialty Coatings Plus, Inc., 2014 U.S. Dist. LEXIS 164069 at *9
(E.D.N.Y. Nov. 19, 2014) (“A one-third contingency fee is a commonly accepted fee in this
Circuit”). In light of the nature of the issues herein, and the extensive negotiations necessary to
reach the agreed-upon settlement, Plaintiffs’ requested award is reasonable. See Alleyne v. Time
Moving & Storage Inc., 264 F.R.D. at 60; see also McDaniel v. Cnty. of Schenectady, 595 F.3d
411, 417 (2d Cir. 2010).

        Given the Plaintiffs’ counsel’s significant experience representing plaintiffs in New York
City in wage and hour litigation, the Plaintiffs’ counsel was able to obtain a favorable pre-trial
result due to the Parties’ cooperative exchange of information and frequent negotiations.

       Attached hereto as Exhibit B, are the Plaintiffs’ attorneys’ time records. A brief biography
of each attorney who performed billed work in this matter is as follows:

           Mr. Faillace is the Managing Member of Michael Faillace & Associates, P.C, and has
            been in practice since 1983. From 1983 to 2000, he was in-house Employment Counsel
            with International Business Machines Corporation (IBM). Mr. Faillace taught
            employment discrimination as an Adjunct Professor at Fordham University School of
            Law since 1992 and at Seton Hall University Law School from 1995 to 1998, and is a
            nationally-renowned speaker and writer on employment law. He also is the author of
            the ADA, Disability Law Deskbook: The Americans with Disabilities Act in the
            Workplace, published by Practicing Law Institute (PLI), and other employment law
            publications and presentations.

           Sara Isaacson is an associate at Michael Faillace & Associates, P.C. She graduated from
            Benjamin N. Cardozo School of Law in 2015. During law school, Ms. Isaacson worked
            as a law clerk at the employment firm of Virginia & Ambinder, LLP. After graduating
            law school, Ms. Isaacson worked at a commercial litigation firm which also specialized
            in the defense of wage and hour litigation. Since joining Michael Faillace &
            Associates, P.C. in May 2017, she has been responsible for all aspects of the firm’s
            employment docket in federal court.

       The requested attorneys’ fees and costs in the parties’ settlement are reasonable under the
circumstances and the Plaintiffs have agreed to these fees and costs by agreeing to the settlement
amount. As a result, the fees should be approved.
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Conclusion

       Plaintiffs have been represented by counsel throughout this lawsuit, and Plaintiffs’ counsel
has agreed to the settlement amount based on the approval of their clients. Plaintiffs’ interests
have thus been adequately safeguarded.

       In full consideration of the issues presented in Cheeks, we believe that the parties’
agreement is fair and reasonable, and that the settlement should be approved. A Stipulation of
Final Dismissal will be filed for so-ordering after execution of the agreement and upon receipt of
confirmation from the Court that the settlement has been approved.

       Thank you for your consideration in this matter.

                                                     Respectfully Submitted,

                                                     /s/ Michael Faillace
                                                     Michael Faillace, Esq.
                                                     Michael Faillace & Associates, P.C.
                                                     Attorneys for Plaintiffs
cc:    Valerie K. Ferrier, Esq. (via ECF)
       Attorney for Defendants
